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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                          )
                                                   )
       V.                                          )       CRIMINAL NO. 1:22CR00015-009-APM
                                                   )
                                                   )
BRIAN ULRICH,                                      )
                                                   )
       Defendant.                                  )


                            MOTION FOR RETURN OF PASSPORT


       COMES NOW DEFENDANT BRIAN ULRICH, by and through his counsel, A. J. Balbo,

and respectfully requests that this Honorable Court order the return of his passport. In support of

this Motion, Mr. Ulrich shows the following:

       1. The undersigned contacted counsel for the Government, who does not oppose this
            request.
       2. Mr. Ulrich surrendered his passport to a representative of the United States Probation
            Office prior to his sentencing on November 19, 2024. Upon information and belief,
            the passport is not yet expired.
       3. On January 20, 2025, President Donald J. Trump issued an executive order pardoning
            all but 14 specifically named January 6th defendants. Section (b) of that executive
            order “grant[s] a full, complete and unconditional pardon to all other individuals
            convicted of offenses related to events that occurred at or near the United States Capitol
            on         January     6,          2021.”       (https://www.whitehouse.gov/presidential-
            actions/2025/01/granting-pardons-and-commutation-of-sentences-for-certain-
            offenses-relating-to-the-events-at-or-near-the-united-states-capitol-on-january-6-
            2021/) (emphasis added). Mr. Ulrich is not one of the 14 specifically named January
            6th defendants who had their sentences commuted; therefore, Mr. Ulrich received a full


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             pardon from President Trump pursuant to Section (b). Accordingly, Mr. Ulrich should
             have no travel restrictions on his person.


          For the aforementioned reasons, Mr. Ulrich believes that he is entitled to the prompt return

of his passport.

                                                 Respectfully submitted,

                                                 /s A. J. Balbo
                                                 A. J. Balbo, Esq.
                                                 Balbo & Gregg, Attorneys at Law, P.C.
                                                 438 W. General Screven Way, Ste. A
                                                 Hinesville, Georgia 31313
                                                 912-876-6666 – Telephone
                                                 aj@balbogregg.com
                                                 Georgia Bar No. 142606


                                   CERTIFICATE OF SERVICE

          I hereby certify that on this 23rd day of January, 2025, a true and accurate copy of the

foregoing was electronically filed and served via the Court’s CM/ECF system to all counsel of

record.

                                                 Respectfully submitted,

                                                 /s A. J. Balbo
                                                 A. J. Balbo, Esq.
                                                 Balbo & Gregg, Attorneys at Law, P.C.
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